Case 1:21-cr-00371-BMC-TAM Document 64 Filed 01/05/22 Page 1 of 2 PageID #: 527




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 - -- - - -- - - -- - - -- - - -- - - -- - - -- X

 UNITED STATES OF AMERICA

         - against -                                          1:21-cr-00371(BMC)(TAM)

 RASHID SULTAN RASHID AL MALIK
 ALSHAHHI,
   also known as “Rashid Al Malik”
   and “Rashid Al-Malik,”
 THOMAS JOSEPH BARRACK and
 MATTHEW GRIMES,

                       Defendant.

 - -- - - -- - - -- - - -- - - -- - - -- - - -- X

                                        NOTICE OF APPEARANCE

                  PLEASE TAKE NOTICE that Trial Attorney Matthew J. McKenzie, of the U.S.

 Department of Justice, National Security Division, Counterintelligence and Export Control

 Section, from this point forward will be added as counsel in the above-captioned matter.

                  All future correspondence to the United States in the above-captioned matter

 should be sent to:

                  Trial Attorney Matthew J. McKenzie
                  National Security Division
                  U.S. Department of Justice
                  950 Pennsylvania Ave., NW
                  Washington, DC 20530
                  Tel: (202) 514-7845
                  Email: matthew.mckenzie@usdoj.gov
Case 1:21-cr-00371-BMC-TAM Document 64 Filed 01/05/22 Page 2 of 2 PageID #: 528




               In addition, the Clerk of the Court is respectfully requested to ensure that all

 future ECF notifications are sent to Assistant United States Attorney Matthew J. McKenzie at the

 email address set forth above.


 Dated: Washington, DC
        January 5, 2022
                                                  Respectfully submitted,

                                                  MATTHEW G. OLSEN
                                                  Assistant Attorney General
                                                  U.S. Department of Justice
                                                  National Security Division

                                          By:     /s/ Matthew J. McKenzie
                                                  Matthew J. McKenzie
                                                  Trial Attorney
                                                  National Security Division
                                                  U.S. Department of Justice

 cc:    Clerk of the Court (BMC)(TAM)
